1:19-cv-01316-JBM-JEH # 1-1   Page 1 of 3                                     E-FILED
                                            Tuesday, 24 September, 2019 05:43:56 PM
                                                         Clerk, U.S. District Court, ILCD




                Exhibit 1
                        1:19-cv-01316-JBM-JEH # 1-1                             Page 2 of 3
      .,
.J               SIARGE OF DIS'                                  ATION                      AGENC1,                        CHARGE NUMBER
     This form Is affecte.d by the Privacy Act ort974: See Privacy act statement             lZ!   IDHR
     before completbag this form.                                                                                          2018SF2877
                                     # 18W0220.16                                            D     EEOC


 I NAME OF COMPLAINANT
     WILLIAM LAYNE ROBERTS
                                                Dlinois Department of Human Rights and EEOC
                                                                                                                1  TELEPBONE NUMBER (include 11rca code)

     STREET ADDRESS                                                 Cl'rY, STATE AND ZIP CODE                                            DATEOFBmTB
                                                                                                                                                 I          I
                                                                                     M      D               y
     NAMED IS THE EMPLOYER, LABOR ORGANlZATJON, EMPLOYMENT AGENCY, APPRENTICESHIP COMMITI£E, STATE OR
     LOCAL GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME (IF MORE THAN ONE LIST BELOW)
     NAME OF RESPONDENT                                NUMBER OF       j TELEPHONE NUMBER (include liTe:! code)
     MCLEAN COUNTY STATE'S ATTORNEY'S                  EMPLOYEES,
                                                       MEMBERS IS+       304-888-5400
     LOFFICE
     STREET ADDRESS                                                 CITY, STATE AND ZIP CODE                                              ' COUNTY
     104 WEST FRONT STREET, ROOM                                    BLOOMINGTON, ILLINOIS 61702
                                                                                                                                            MCLEAN
     <'05
     CAUSE OF DISCRIMINATION BASED ON:                                                                            DATE OF DISCRIMINATION
                                                                                                                  EARLIEST (ADEAIEPA) LATEST (ALL)
            SEXUAL HARASS:MENT, RETALIATION                                                                                           11/29/2017
                                                                                                                  0    CONTINUING ACTION                                    I
     THE PARTICULARS OF THE CHARGE ARE AS FOLLOWS:

 I              I.         ~         ISSUE/BASIS
                                     SEXUAL HARASSMENT FROM DECEMBER 2016 TO NOVEMBER 29,
                                     2017, BECAUSE OF SEX, MALE.

                           B.        PRIMA FACIE ALLEGATIONS
                                      1.        My sex is male.
                                     2.         From December 2016 to November 29,2017, Kristin Alferink, Senior
                                                Assistant State's Attorney, sexually harassed me on multiple occasions
                                                when she contrived to isolate me in offices where we would be alone
                                                for no work-related matter, called me her boyfriend, tried to kiss me,
                                                and would come into my office and make jokes that other employees
                                                probably thought that we were having sex. In addition, she sent texts
                                                and e-mails suggesting a quid pro quo relationship in which by
     Page 1 ofl
     JLM
     I also want this cll:trge rued with the EEOC. 1 will advise tbe agencies If I
     chaDge my address or telephone number and 1 wru coopen~te fnUy with them
     ha the processing of my dulrge in 11ceorduce with their protcdllres.




                                                                                     SIGNAT(TRE OF COMPLAJNANT                                           DATE
                                                                                     I declare under penalty thllt the foregoing b trUe and toiTHt I swear or llfrlf'm
                                                                                                      that I have read the above dlarge 11nd th:at it Is true to the best
                                NOTAR.YSTAMP                                                           or Jll ' kllowled e. iuform:&don lllld belief

                EE0-5 FORM (Rev. 11/0!I·INT)
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     c'iiiargc Number: l018SF2 .
     Complainant:       ROBERTS
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                           maintaining a "friendship" on these terms that she could advance my
                           career with the State's Attorney's Office and provide referral that
                           might assist me outside the office, but that if we were to cease to be
                           "friends" that it wouJd negatively affect my career within the McLean
                           County State's Attorney's Office.

                    3.      The conduct was unwelcomed. On November 22,2017, I opposed it to
                            Jason Chambers, McLean County State's Attorney, but it continued.

                    4.      The conduct created a hostile, intimidating, and offensive work
                            environment that substantially interfered with my ability to perform
                            the job.

     n.     A.      ISSUE/BASIS
                    DISCHARGE ON NOVE.MBER 29,2017, BECAUSE OF RETALIATION.

            B.      PRIMAFACffiALLEGATIONS

                    1.      On November 22, 2017, I opposed discrimination to Respondent when
                            complaining about sexual harassment.

                    2.      My work performance as Assistant State's Attorney met
                            Respondent's expectations.

                    3.      On November 29,2017, Respondent discharged me for no stated
                            reason.

                    4.      The discharge followed my participation in a protected activity within
                            such a period of time as to raise an inference of retaliatory motivation.
